
PER CURIAM.
We have for review Alvarez v. State, 626 So.2d 265, 266 (Fla. 2d DCA 1993), in which the district court certified the following question as being of great public importance:
MUST A TRIAL COURT, UPON REVOCATION OF PROBATION, CREDIT PREVIOUS TIME SERVED ON PROBATION TOWARD ANY NEWLY-IMPOSED TERM OF PROBATION SO THAT THE TOTAL PROBATIONARY TERM IS SUBJECT TO THE STATUTORY MAXIMUM FOR A SINGLE OFFENSE?
We have jurisdiction pursuant to article V, section 3(b)(4) of the Florida Constitution.
We answered the same question in the affirmative in State v. Summers, 642 So.2d 742 (Fla.1994). Because the district court resolved the issue consistent with our decision in Summers, we approve.
It is so ordered.
GRIMES, C.J., and OVERTON, SHAW, KOGAN, HARDING, WELLS and ANSTEAD, JJ., concur.
